Case 3:24-cv-04471-EMC   Document 190-7   Filed 03/12/25   Page 1 of 6




           EXHIBIT G
    Case 3:24-cv-04471-EMC                  Document 190-7                Filed 03/12/25            Page 2 of 6


From:           Flores, Rommy
To:             Richard Min; Davis, Thad A.
Cc:             Camilla Redmond; Azcona R; Jacobson-Kwok Michelle; Lash Brittani; Hesse, Danielle
Subject:        RE: Dias v. Dias - DVRO Granted and Jurisdiction Found - Response Requested
Date:           Wednesday, March 12, 2025 8:15:13 AM



Richard –

Judge Chen’s orders were specifically about California state courts taking over the case,
which can’t happen until your client is served with the now entered TRO which confirms
what he has been disputing in bad faith : he is subject to California jurisdiction. You and
your client through you told Judge Chen petitioner would consent to that jurisdiction. This
conduct is in violation of the Court’s resulting order.

  These games of whack-a-mole you and your client are playing are putting our client in
grave physical danger and are explicitly what we sought to prevent in seeking a dismissal
with strong protections. Since at every turn both your client appears to be refusing service,
and you appear to be disavowing your duties here including to meet and confer, we will be
forced seek relief from the Court.   

In the meantime, please let us know if you consent to us contacting petitioner directly as
Ms. Azcona has consented. Also please confirm whether petitioner is in or planning to
travel to California and if yes explain why he didn’t give the required notice.



Rommy Flores
Of Counsel

T: +1 213.229.7966 | M: +1 213.335.1672
RFlores@gibsondunn.com

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
‌333 South Grand Avenue, Los Angeles, CA 90071-3197




From: Richard Min <rmin@gkmrlaw.com>
Sent: Wednesday, March 12, 2025 7:26 AM
To: Davis, Thad A. <TDavis@gibsondunn.com>; Flores, Rommy <RFlores@gibsondunn.com>
Cc: Camilla Redmond <credmond@gkmrlaw.com>; Azcona R <lr_azcona@yahoo.com>; Jacobson-
Kwok Michelle <Michelle@ljtlawgroup.com>; Lash Brittani <brittani@ljtlawgroup.com>; Hesse,
Danielle <DHesse@gibsondunn.com>
Subject: RE: Dias v. Dias - DVRO Granted and Jurisdiction Found - Response Requested
                                                                    Case 3:24-cv-04471-EMC                                                                                                                                                                 Document 190-7   Filed 03/12/25   Page 3 of 6


What is the point of the meet and confer? I do not read the order as requiring acceptance of service with regards to any future orders. As that is the request you are making, I would find any application to the Court in that regard to be frivolous.
ZjQcmQRYFpfptBannerStart




                   This Message Is From an External Sender
                   This message came from outside your organization.
ZjQcmQRYFpfptBannerEnd




What is the point of the meet and confer? I do not read the order as requiring acceptance of
service with regards to any future orders. As that is the request you are making, I would find any
application to the Court in that regard to be frivolous. I also have no authority to act otherwise.

_________________________________
Richard Min|Green Kaminer Min & Rockmore LLP
rmin@gkmrlaw.com|www.gkmrlaw.com
Fellow of the International Academy of Family Lawyers

Manhattan Office:
420 Lexington Ave. Ste. 2821|New York, NY 10170
T: 212.681.6400|D: 212.257.1944

Long Island Office:
600 Old Country Rd. Ste. 410|Garden City, NY 11530
T: 516.858.2115
_________________________________
ATTENTION:
This electronic message transmission contains information from a law firm which may be
confidential or privileged. This information is intended to be for the use of the individual or
entity named above. If you are not the intended recipient, be aware that any disclosure,
copying, distribution or use of the contents of this information is prohibited. You should
delete the message and attachments without printing, copying, forwarding or saving them. If
you have received this electronic transmission in error, please notify the sender immediately.
Disclosure under IRS Circular 230: To ensure compliance with requirements imposed by the
IRS, we inform you that any tax advice contained in this communication (including any
attachments) was not intended or written to be used, and may not be used, for the purpose of
avoiding tax-related penalties under federal, state or local tax law or promoting, marketing or
recommending to another party any transaction or matter addressed therein.

From: Davis, Thad A. <TDavis@gibsondunn.com>
Sent: Tuesday, March 11, 2025 9:20 PM
To: Flores, Rommy <RFlores@gibsondunn.com>
Cc: Richard Min <rmin@gkmrlaw.com>; Camilla Redmond <credmond@gkmrlaw.com>; Azcona R
<lr_azcona@yahoo.com>; Jacobson-Kwok Michelle <Michelle@ljtlawgroup.com>; Lash Brittani
<brittani@ljtlawgroup.com>; Hesse, Danielle <DHesse@gibsondunn.com>
Subject: Re: Dias v. Dias - DVRO Granted and Jurisdiction Found - Response Requested
        Case 3:24-cv-04471-EMC                  Document 190-7            Filed 03/12/25          Page 4 of 6


    CAUTION: This email originated from outside of the organization. Do not click links or open attachments unless you
    recognize the sender and know the content is safe.


Counsel — please respond as soon as possible regarding your availability to meet confer
live or we will need to seek relief from the Court tomorrow given the circumstances.



Thad A. Davis
Partner

T: +1 415.393.8251 M: +1 415 730 5434
TDavis@gibsondunn.com

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
One Embarcadero Center Suite 2600, San Francisco, CA 94111-3715


On 10/03/2025, at 12:48, Flores, Rommy <RFlores@gibsondunn.com> wrote:

﻿
Richard –

Please advise if you are available today to meet and confer on the below, or alternatively, if
you have been authorized to accept service on your client’s behalf of the DVRO as required
by the Court’s November 13 Order. We have not received a response from you.

Thanks,
Rommy

Rommy Flores
Of Counsel

T: +1 213.229.7966 | M: +1 213.335.1672
RFlores@gibsondunn.com

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
‌333 South Grand Avenue, Los Angeles, CA 90071-3197




From: Flores, Rommy <RFlores@gibsondunn.com>
Sent: Thursday, March 6, 2025 10:53 AM
To: Richard Min <rmin@gkmrlaw.com>; Camilla Redmond <credmond@gkmrlaw.com>; R Azcona
<lr_azcona@yahoo.com>
Cc: Michelle Jacobson-Kwok <Michelle@ljtlawgroup.com>; Brittani Lash
    Case 3:24-cv-04471-EMC          Document 190-7        Filed 03/12/25     Page 5 of 6


<brittani@ljtlawgroup.com>; Davis, Thad A. <TDavis@gibsondunn.com>; Hesse, Danielle
<DHesse@gibsondunn.com>
Subject: Dias v. Dias - DVRO Granted and Jurisdiction Found - Response Requested


Richard, et al. –

Although your client, in seeking to have his petition dismissed with prejudice, agreed to
jurisdiction by California courts over all custody and related proceedings, he nevertheless
argued in front of the state court that he was not subject to jurisdiction by California state
courts in direct violation of the conditions attached to Judge Chen’s order dismissing his
petition with prejudice. That bad faith argument has failed. On March 4, 2025, Judge
Thomas Weathers of the Alameda County Superior Court granted Ms. Cavaco Dias’
temporary restraining order against your client, Casimiro Jose Canha Cavaco Dias and
denied his motion to dismiss based on lack of jurisdiction, ruling that California clearly has
jurisdiction over your client. Please see all relevant documents attached.

Judge Chen’s November 13 Order granting your request for dismissal with prejudice
imposed certain conditions upon your client, including that “Petitioner shall accept service
and cooperate as to the service of custody, visitation, and domestic violence pleadings.”
Attached please find the temporary restraining order and Judge Weathers’ Order regarding
jurisdiction. Per Judge Chen’s order, your client is required to accept service of the Order
through you.

Please let us know if you and your client nonetheless will defy the order and contest service
through you on your client’s behalf by tomorrow at 5 PM ET given the gravity of the subject
matter.

We note that neither Mr. Min nor Ms. Azcona have filed notices of withdrawal as counsel for
Mr. Dias.

We look forward to hearing from you. Ms. Dias reserves all rights regarding Mr. Dias’
continued litigation misconduct and anyone facilitating it.

Best,

Rommy

Rommy Flores
Of Counsel

T: +1 213.229.7966 | M: +1 213.335.1672
    Case 3:24-cv-04471-EMC           Document 190-7         Filed 03/12/25      Page 6 of 6


RFlores@gibsondunn.com

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
‌333 South Grand Avenue, Los Angeles, CA 90071-3197




This message may contain confidential and privileged information for the sole use of the
intended recipient. Any review, disclosure, distribution by others or forwarding without
express permission is strictly prohibited. If it has been sent to you in error, please reply to
advise the sender of the error and then immediately delete this message.

Please see our website at https://www.gibsondunn.com/ for information regarding the firm
and/or our privacy policy.
